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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         STATE SBORO DIVISION
CHARLES ANTHONY WILLIS,                  )



                                         )



       Movant,                           )



                                         )



V.                                       )      Case No. CV612-089
                                         )



UNITES STATES OF AMERICA,                )



                                         )



       Respondent.                       )




                       REPORT AND RECOMMENDATION

       Charles Anthony Willis has filed a second 28 U.S.C. § 2255 motion.

Doe. 1364.' He was convicted, upon his guilty plea, of conspiracy to

distribute an unspecified quantity of crack and powder cocaine. Doe.

700, 900. He unsuccessfully appealed the resulting 192-month sentence,

United States v. Willis, 284 F. App'x 687 (11th Cir. 2009) (Willis I).

Willis then moved this Court for 28 U.S.C. § 2255 relief 2 and prevailed



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 The Court is citing only to the criminal docket and using its docketing software's
pagination; it may not always line up with each paper document's printed pagination.
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  In it he argued that his lawyer provided him with ineffective assistance of counsel
for: (1) failing to challenge the career offender enhancement; (2) failing to contest the
firearm enhancement; (3) failing to object to the drug amounts attributed to him in
the PSR; (4) ineffectively handling a motion to suppress evidence, including a
firearm; (5) failing to object to improper venue; and (6) advising him to accept the
plea agreement. The Government conceded that Willis was not eligible for the career
offender enhancement, but argued that the remaining claims were meritless. Doc.
870 at 4-18; doc. 1284 at 5.
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on one of six ineffective assistance of counsel (IAC) claims -- that his

lawyer should have challenged the imposition of a career offender

sentencing enhancement. Doe. 870; doe. 937 at 32-33; doe. 956.

      Consequently, the Court resentenced him -- to 151 months. Doe.

1007. Willis was still unhappy. He had cooperated with the government

throughout the case. Pursuant to its plea bargain obligation, the

government re-requested a U.S.S.G. § 5K1.1 downward departure on his

sentence. Doc. 1021 at 19-21. That request led the Probation Office to

recommend a 124-month sentence. Doe. 1364-3 at 2-3. Even though the

resentencing judge had granted a § 5K1.1 downward departure at Willis's

first sentencing, he refused it at the second. Doe. 1021 at 17-22. Also at

that hearing, Willis renewed his first § 2255 motion's ineffective-

assistance based challenges to other sentence enhancements -- the

quantity of drugs attributable to him and a firearm enhancement. The

judge refused to consider them, too. Id. at 9-11.

     Willis then unsuccessfully appealed.     United States v. Willis, 649

F.3d 1248 (11th Cir. 2011) (Willis Ii). Willis II concluded that so long as

the judge clearly understood that he had the power to depart from the

U.S. Sentencing Guidelines range, there was no jurisdiction even to


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consider on appeal the refused downward-departure request. Id. at 1258-

59. The judge, the panel concluded, did clearly understand that

principle, so there was no jurisdiction to consider that issue.           Id. And

Willis "waived his right to challenge the district court's [remaining]

adverse ruling on his § 2255 motion" by failing to properly present them

on appeal. Id. at 1255.

      In this second § 2255 motion' Willis claims his resentencing

counsel, Lance J. Hamilton, was ineffective because he bungled those and

other issues. He also raises a substantive claim. Doc. 1364 at 4-5; does,

1365, 1378 & 1379. As the government points out, doe. 1383 at 43, in

various filings Willis in substance repeats the same claims but in

different form (e.g., his claim that counsel was ineffective for failing to

ensure that he "received a legally sufficient remedy). Doe. 1365 at 54;

see also doe. 1378 (arguing that counsel should have sought a Certificate

of Appealability). Those claims are consolidated below. The Court

reviews these ineffective-counsel claims under the familiar two-part test

established in Strickland v. Washington, 466 U.S. 668 (1984), which


  It is not successive. Sanders v. United States, 2010 WL 1490076 at * 1 n. 1 (S.D.
Ga. Mar. 10, 2010) ("a § 2255 motion is not second or successive where the defendant
seeks to vacate an amended sentence on grounds opened by resentencing ...... ).

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requires Willis to show both that his attorney's performance was

deficient and that it prejudiced his defense. Id. at 687, 694.

I. ANALYSIS

      A. Downward Departure

      Hamilton provided ineffective assistance, says Willis, by failing to

argue that the resentencing judge was bound to grant him the same

downward departure the second time that he did the first. Doc. 1365 at

13-19. Willis contends that 124 months (applying the same 18%

substantial assistance reduction that he received on the first sentencing)

is the proper sentence, and he illuminates the Probation Department's

recommendation of 124 months, too. Doc. 1365 at 32; doc. 1364-3 at 2-3.

      The prism through which that claim must be viewed was set by

United States v. Stinson, 97 F.3d 466 (11th Cir. 1996), which held that

once the original sentence is vacated in toto, the sentencing judge is free

to reconstruct the sentence using any of the sentencing components at

his disposal (current conviction, prior offenses, cooperation, etc.).   Id. at

469. Stinson successfully appealed a claimed sentencing error on a 425-

month sentence and wound up with that same sentence upon his re-

sentencing. Id. at 468. The appellate court held that the re-sentencing


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judge was free to apply an upward-departure argument (from the

government) that she had rejected the first time around. Id. at 468-69.

      Movants like Willis thus assume some risk when they get their

sentence vacated: the resentencing judge is free to reconsider sentence

components and reconfigure the sentence anew.' That obviously

includes (and that was the case here) not applying sentence components

and thus limiting the scope of the resentencing hearing itself.             Willis II

reaffirmed that authority.       Willis II, 649 F.3d at 1255-56 (resentencing

judge was free to not reconsider what he had already resolved on the

original sentencing, and which had not been disturbed on direct or

collateral appeal).

      Willis fails to show a viable argument that Hamilton could or

should have raised to secure a different result. 5 For that matter,

Hamilton did raise the issue before the resentencing judge, doe. 1021 at




   No Due Process or Double Jeopardy concerns are implicated where no net sentence
increase results. United States v. Rozier, 485 F. App'x 352, 357 (11th Cir. 2012.
Here Willis reaped a substantial net decrease, just not as much as he wanted.

    He also seems to complain that Hamilton should have properly appealed the
undersigned's determination, on the first § 2255 motion, that Willis's other five IAC
claims (see supra n. 2) were without merit. Doe. 1365 at 54-56. However, he fails to
show how Hamilton would have prevailed on any of them.

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17-18, as well as on appeal.          Willis II, 649 F.3d at 1258-59. Hence,

Willis's JAC claim against him fails. 6

       B. Plea Agreement Breach

      Willis next claims that Hamilton was ineffective for failing to argue

that the government breached its plea agreement. Doc. 1365 at 27-33.

The sentencing transcript and appellate arguments clearly show that the

government meticulously adhered to its obligation. Doe. 900 at 4 (its

plea-agreement obligation to merely "consider whether" any cooperation

by Willis "qualifies as substantial assistance" and explaining to him that

such determination rested solely with the government); doe. 1021 at 19-

21 (government's presentation during sentencing); Willis II, 649 F.3d at

1258-59. It was not obligated to claim, as Willis contends, that the

district judge lacked discretion on the downward departure component.


6
 The Willis II, "sentence reconfiguration" ruling is now the law of this case. Pepper
v. United States, 131 S.Ct. 1229, 1250-51 (2011) ("when a court decides upon a rule
of law, that decision should continue to govern the same issues in subsequent stages
in the same case.") (quote and cite omitted); Rozier, 485 F. App'x at 356 (prior
decision affirming defendant's original total sentence -- that his drug and firearms
offenses were interdependent -- was now the law of the case barring jurisdiction to
hear for challenge to interdependence again; "Because we already decided the
interdependence question in an earlier appeal, we may not reconsider it, pursuant to
the law-of-the-case doctrine, and Rozier has not identified any reasons why the
doctrine should be overcome."); McCullough v. United States, 2012 WL 3113990 at *
3 (S.D. Ga. Jul. 31, 2012) (rejecting plea-breach claim under law of the case doctrine).
That means Willis cannot "re-appeal" that result by repackaging the same appellate
argument as a § 2255 claim. United States v. Nyhuis, 211 F.3d 1340 (11th Cir. 2000).
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That is simply not the law (in fact, the judge did have discretion). Plus

Willis agreed that "the government reserves the right to either take no

position as to the appropriate amount of departure and defer entirely to

the Court, or, in its discretion, to make any recommendation it deems

appropriate respecting the degree of departure." Doc. 900 at 4. The

government operated well within those parameters. And the

resentencing judge, obviously not a party to the agreement, was free to

(and did) resentence within the Stinson limits.

     Willis also contends (as a separate, substantive claim) that the

government breached its plea agreement by failing to: (1) diligently

pursue the first promised sentence reduction and (2) move for an

additional reduction after the capture of fugitive Julius Pinkston. Docs.

1364 1 1365, 1378, 1379. The record shows, however, that the

government kept its word. At the re-sentencing, it meticulously detailed

Willis's assistance, including during his post-conviction phase. Doc. 1021

at 19-21. Willis fails to show what more it the law compelled it to do.

     C. Sentence Disparity

     Movant's sentence disparity claim (that his sentence is unduly

disparate from his co-defendants, and Hamilton was ineffective for


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failing to raise it at sentencing and on appeal), doc. 1365 at 33-37, is

baseless. As demonstrated by the government's unrebutted showing,

doc. 1383 at 29-33, no co-defendant stood similarly situated to him,

which is an indispensable prerequisite to such a claim.   United States v;

DoCampo, 573 F.3d 1091, 1101-02 (11th Cir. 2009). Hence, he cannot

show that Hammond's performance was deficient.

     D. Vindictiveness

     Willis also faults Hamilton for failing to argue that the re-

sentencing judge acted vindictively in refusing to reapply the same

downward departure at re-sentencing. Doc. 1365 at 20-26. Note that

ordinarily "a district court's refusal to apply a downward departure is

within the court's discretion and may not be appealed, provided the court

recognized that it had the power to so depart from the guideline range."

Willis II, 649 F.3d at 1258-59. Here the judge specifically found that

Willis has made crime his career and cynically plays the "substantial

assistance" card (resulting in a downward departure recommendation

from the prosecution) every time he gets caught. Doe. 1021 at 17-22. So

long as the judge understands that he has the power to grant the

downward departure but exercises his discretion not to do so, the


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appellate court lacks jurisdiction to review that result. Willis II, 649 F.3d

at 1258-59; United States v. Guerard, 469 F. App'x 711, 712 (11th Cir.

2012). Willis' resentencing judge evinced a clear understanding that he

had and did exercise that discretion, doc. 1021 at 17 ("Of course, the

whole sentencing apparatus is advisory."), when he imposed a lower

sentence (151 months) than the first sentence (192 months). Hamilton

thus cannot be shown to be ineffective here.

      But there is more to this claim. Willis "has a Fifth Amendment due

process right not to be subjected to vindictive resentencing following his

successful § 2255 petition." United States v. Raygosa-Esparza, 566 F.3d

852, 854 (9th Cir. 2009). A greater sentence upon resentencing

establishes a presumption of vindictiveness, 7 which means a lower

sentence shows the opposite. While Willis received a lower sentence

here, he insists that this case is an exception -- the judge was vindictive

by denying him the very same departure (the grounds for which were

strengthened by Willis's continued cooperation beyond Willis]) at re-


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     United States v. Arrington, 255 F.3d 637, 639 (9th Cir. 2008); see also United
States v. Shuster, 2012 WL 5834906 at * 2 (2nd Cir. Nov. 19, 2012) (if the same
sentence is given on resentencing, no presumption of vindictiveness attaches, but the
movant can still show actual vindictiveness); Bryant v. Secretary, Dept. of
Corrections, 2012 WL 1071930 at * 6 (N.D. Fla. Feb. 15, 2012) ("In the absence of a
presumption of vindictiveness, Petitioner must demonstrate actual vindictiveness.").
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sentencing that he gave him during the original sentencing. (Willis

calculates, as did the Probation Department, a 124 month sentence on

that score, doc. 1365 at 18; doc. 1364-3 at 2-3, yet he received 151.) In

other words, with all things being equal, he should have received an even

lower sentence. And Hamilton, in turn, was ineffective for failing to

argue that on appeal. Doc. 1365 at 23-25.

      The Court rejects that contention because, even accepting Willis'

assertions as true, doc. 1365 at 22 (he claims the judge, with caustic tone,

double-counted prior offenses and "even cut the Government off when

they were trying to re-assert their request for a significant departure.

."), Willis still received the low end of the guidelines range, as

recalculated to omit the erroneous career-offender enhancement. Put

another way, the judge (per Stinson) was free to reconsider the sentence

anew and reconfigure its supporting components. That means he could

have imposed a sentence from the higher end of the applicable

sentencing range. Yet, he selected the lowest end of it. Based on the

judge's de novo consideration of Willis's criminal history -- again, he was

free to reconsider the original sentence anew -- he simply exercised his




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discretion to choose the lowest (151 months) end of Willis's otherwise

undisputed sentencing range, then stopped there.

     And in deciding to deny the downward departure, the judge was

fully authorized to reconsider how many breaks Willis had received by

that point in deciding, upon resentencing, that he is an unrelenting

criminal and simply needs to be locked up for no less than 151 months.

It is not beyond the realm of reason to conclude that the judge would

have arrived at that number on the first sentencing if the career-offender

enhancement had been properly excluded.

     All of that, of course, strikes at the        essence of sentencing

determinations. See United States v. Bailey, 206 F. App'x 650, 653 (8th

Cir. 2006) (rejecting a vindictive sentencing claim based on the

application of a guidelines enhancement to calculate a second sentence

when the enhancement was not used to calculate the first sentence but

the second sentence was no longer than the first);        United States v.

Arrington, 255 F.3d 637, 639 (8th Cir. 2001) (resentencing of defendant

after determination that there was no factual basis for stolen firearm

enhancement was not vindictive, and thus did not violate defendant's due

process rights, even though his original sentence was at bottom of


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guideline range calculated with enhancement and new sentence was at

top end of range calculated without enhancement, where sentence on

remand was identical to original sentence); United States v. Burruel-

Lopez, 407 F. App'x. 134, 135 (9th Cir. 2010) (district court did not abuse

its discretion by rejecting plea agreement's stipulated sentence; district

court did not apply a categorical rule, but analyzed defendant's

circumstances and offered specific, individualized reasons why the

proposed sentence was insufficient, including defendant's criminal

history, past sentences for the same offense, and lack of deterrence). So

even if it may be said that Hamilton should have tried to argue actual

vindictiveness on appeal, Willis fails to show how he could have

navigated around that road block. Hence, his IAC claim also fails.

     E. Reasonableness

     Willis also faults Hamilton for failing to argue on the Willis II

appeal that the resentence was procedurally unreasonable because the

judge failed to consider the 18 U.S.C. § 3553(a) factors at sentencing.

Doc. 1365 at 38-40. "For a sentence to be procedurally reasonable, the

district court must properly calculate the guideline range, treat the

guidelines as advisory, consider the factors set forth in 18 U.S.C. §


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3553(a), select a sentence based on findings of fact that are not clearly

erroneous, and adequately explain the chosen sentence.       Gall v. United

States, 552 U.S. 38, 51 (2007)." United States v. Lynn, 2013 WL 150235

at * (11th Cir. Jan. 15, 2013). "A sentence is unreasonable if it contains

significant procedural error, such as an improper calculation of the

guidelines range."    United States v. Hall, No. 11-14698, - F.3d

2013 WL _, (11th Cir. Jan. 16, 2013) (citing Gall, 552 U.S. at 51).

      This claim also fails. First, the judge expressly acknowledged the §

3553(a) requirement. Doc. 1021 at 30. Second, there was no need for

him to explicitly cite each factor.   United States v. Scott, 426 F.3d 1324,

1329 (11th Cir. 2005). And third, his comprehensive explanation, as it

emerged during his colloquy with Willis, his lawyer, and the prosecutor,

doc. 1021 at 16-31, easily satisfies § 3553(a)'s command in that he

explained his application of the factors, and movant shows no erroneous

application of the guidelines or other factors. See, e.g., United States v.

Wesley, 441 F. App'x 655, 658 (11th Cir. 2011) ("Here, the district court

did not explicitly mention the § 3553(a) factors, although the dialogue

between the court and the parties implicates several § 3553(a) factors.

Because the record indicates the district court considered Wesley's


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arguments and the substance of the § 3553(a) factors, Wesley has not

met his burden to show procedural error."). Willis thus cannot show

ineffectiveness here, either.

      Movant's related claim -- that Hamilton was ineffective for failing

to argue that the judge erred by relying on matters other than the

government's § 5K1.1 motion, doe. 1365 at 40-44, is frivolous. Section

5K1.1 itself says the judge "may" depart from the guidelines, and it is

black letter law that the decision is discretionary, which means other

factors can and should be considered.     United States v. Manella, 86 F.3d

201 2 204 (11th Cir. 1996); United States v. Davis, 679 F.3d 190 2 195-96

(4th Cir. 2012); United States v. Adamson, 2012 WL 4341809 at * 12-13

(N.D. Ala. Aug. 13, 2012). Movant's cases are easily distinguishable.

Since he cannot show that Hammond's representation was deficient

here, his JAC claim fails.

      F. Firearm Enhancement

      Finally, Willis faults Hamilton for failing to argue on appeal that

his first lawyer was ineffective for failing to argue on his first appeal that

Willis did not qualify for the two-level firearm sentencing enhancement

applied to him. Doe. 1365 at 44-53. This Court already ruled on that.


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Doe. 937 at 7-13. It thoroughly analyzed the evidence on which Willis

has relied to show that no reasonable attorney would have failed to press

this issue, and it rejected all of it.        Id.   As the Court then said, a

reasonable attorney certainly could have found highly suspect Willis's

supporting evidence against this particular enhancement.            Id. at 10.

Substantively speaking, Willis has provided nothing new here. He has

failed to show that counsel performed deficiently by failing to litigate this

claim on his behalf. Hence, this claim also fails.

II. CONCLUSION

      The Court GRANTS the motions of Charles Anthony Willis to

amend, does. 1378 & 1379, but DENIES his evidentiary hearing motion,

doe. 1366, and recommends that his § 2255 motion be DENIED. Doe.

1364. Applying the Certificate of Appealability (COA) standards set

forth in Brown v. United States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb.

9, 2009), the Court discerns no COA-worthy issues at this stage of the

litigation, so no COA should issue. 28 U.S.C. § 2253(c)(1); see Alexander

v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000) (approving sua sponte

denial of COA before movant filed a notice of appeal). And, as there are

no non-frivolous issues to raise on appeal, an appeal would not be taken


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in good faith. Thus, in forma pauperis status on appeal should likewise

be DENIED. 28 U.S.C. § 1915(a)(3).

     SO REPORTED AND RECOMMENDED this _3OR day of

January, 2013.

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                            UNITIrYSTATES MAGISTRATE JUDGE
                            SOUTHERN DISTRICT OF GEORGIA




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